Case 2:05-md-01657-EEF-DEK Document 40865-1 Filed 04/30/10 Page 1 of 1

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
John J. O’Connell, Jr. JUDGE FALLON

Vv.

Merck & Co., Inc., et al. MAGISTRATE JUDGE KNOWLES

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Docket No. 2:05-cv-01556

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ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff John J. O’Connell, Jr. in the above-
captioned case be and they hereby are dismissed with prejudice with each party to bear his or her
own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
